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     Attorney for Defendant
7    DONALD M. PARKER
8                                IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12

13   UNITED STATES OF AMERICA,                        Case No.: 2:11-cr-00511-03 WBS
14                  Plaintiff,
15
     vs.                                              STIPULATION AND [PROPOSED] ORDER
                                                      RESETTING BRIEFING SCHEDULE AND
16                                                    HEARING ON NEW TRIAL MOTION FOR
     DONALD M. PARKER,
17                                                    DEFENDANT DONALD M. PARKER
                    Defendant.
18

19
                                                      Hon. William B. Shubb

20

21
                                              STIPULATION
22
                    Plaintiff, Antitrust Division, United States Department of Justice, by and through
23
     its counsel, Anna T. Pletcher, and defendant Donald M. Parker, by and through his attorney of
24

25   record, Hayes H. Gable III, agree and stipulate to vacate the existing dates for the filing of a

26   reply brief, having previously joined co-defendant Katakis’s second amended motion for new
27
     trial, filed February 3, 2016, in the above-entitled case, and the hearing on same, and reset the
28                                                     1
             Case 2:11-cr-00511-WBS Document 450 Filed 02/10/16 Page 2 of 2


1    due date for the brief to February 26, 2016 and the hearing on the matter to March 14, 2016, at
2
     9:00 a.m.
3
                    Accordingly, the parties request the Court to adopt this stipulation.
4
                    Dated: February 4, 2016
5

6

7                                                     /s/Hayes H. Gable III
                                                      HAYES H. GABLE III
8
                                                      Attorney for Defendant
9                                                     DONALD M. PARKER

10

11
                                                      /s/Hayes H. Gable III for________________
12                                                      ANNA T. PLETCHER
                                                        Attorney for Plaintiff
13                                                      ANTITRUST DIVISION OF THE
                                                        DEPARTMENT OF JUSTICE
14

15

16                                                ORDER
17
            Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:
18

19                  1.   The existing dates for the filing of a reply brief and the hearing on the new
20                       trial motion are VACATED; and,
21                  2. The reply brief shall be filed on or before February 26, 2016 and the hearing

22                       on the new trial motion is set for March 14, 2016 at 9:00 a.m.

23
            IT IS SO ORDERED.
24
            Dated: February 10, 2016
25

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